Case 1:21-cr-00064-TSK-MJA Document 11 Filed 12/16/21 Page 1 of 2 PageID #: 18




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA

               v.                                    CRIMINAL NO. 1:21CR64

MERZA MIZORI


            MOTION TO CONTINUE PLEA AND SENTENCING HEARING

       Comes now, Brian J. Kornbrath, Federal Public Defender and counsel for the defendant,

Merza Mizori, moving this Court to continue the plea and sentencing hearing currently scheduled

for February 2, 2022. In support of the instant motion, undersigned counsel relies on the

following grounds:

       1.      Undersigned counsel is scheduled to attend the annual Federal Public Defender

 conference held this year in Philadelphia, PA February 2-4, 2022. The following week,

 undersigned counsel is on annual leave.

       2.      The parties respectfully request the Court reschedule this matter sometime

 between February 14-28, 2022.

       3.           The government, represented by Assistant United States Attorney Christopher

 Bauer, does not oppose the instant motion.

       WHEREFORE, the Court is respectfully requested to continue this matter.


                                              Respectfully submitted,

                                              MERZA MIZORI

                                              By Counsel
Case 1:21-cr-00064-TSK-MJA Document 11 Filed 12/16/21 Page 2 of 2 PageID #: 19




By:   s/ Brian J. Kornbrath
      Brian J. Kornbrath
      WV State Bar No. 7330
      Attorney for Defendant
      Federal Public Defender Office
      230 West Pike Street; Suite 360
      Clarksburg, West Virginia 26301
      Tel. (304) 622-3823
      Fax. (304) 622-4631
      E-Mail. Brian_Kornbrath@fd.org


                                 CERTIFICATION OF SERVICE


      I hereby certify that on December 16, 2021, electronically filed the foregoing with the

      Clerk of the Court using the CM/ECF system, and will send notification of such filing to

      the following:



                                    Christopher Bauer , Esq.
                                    Office of the United States Attorney
                                    320 West Pike Street
                                    Clarksburg, West Virginia 26301


By:   s/ Brian J. Kornbrath
      Brian J. Kornbrath
      WV State Bar No. 7330
      Attorney for Defendant
      Federal Public Defender Office
      230 West Pike Street; Suite 360
      Clarksburg, West Virginia 26301
      Tel. (304) 622-3823
      Fax. (304) 622-4631
      E-Mail. Brian_Kornbrath@fd.org
